      Case 2:21-cv-02538-HLT-GEB Document 24 Filed 07/07/22 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

CHERI WILLARD,                             )
                                           )
                       Plaintiff,          )
                                           )
vs.                                        )
                                           )         Case No. 2:21-cv-02538-HLT-GEB
ALEJANDRO MAYORKAS, in his                 )
capacity as Secretary of the Department of )
Homeland Security,                         )
                                           )
                       Defendant.          )
                                           )

 DEFENDANT’S MOTION FOR ORDER FOR RELEASE OF PROTECTED HEALTH
  INFORMATION AND ALLOWING EX PARTE INTERVIEWS WITH TREATING
         PHYSICIANS AND OTHER HEALTH CARE PROVIDERS

       Alejandro Mayorkas, Secretary of the United States Department of Health and Human

Services, by and through Duston J. Slinkard, United States Attorney for the District of Kansas, and

Brian E. Vanorsby, Assistant United States Attorney, hereby moves this Court for entry of an

Order allowing for the release of protected health information, including medical records and ex

parte interviews with Plaintiff’s treating physicians, psychologists, psychiatrists, or other health

care providers. Pursuant to D. Kan. Rules 7.1 and 7.6, Defendant is filing a separate memorandum

in support hereof.
Case 2:21-cv-02538-HLT-GEB Document 24 Filed 07/07/22 Page 2 of 3




                                    Respectfully submitted,

                                    DUSTON J. SLINKARD
                                    United States Attorney
                                    District of Kansas

                                    /s/Brian E. Vanorsby
                                    Brian E. Vanorsby, KS #27606
                                    Assistant United States Attorney
                                    United States Attorney’s Office
                                    District of Kansas
                                    1200 Epic Center
                                    301 N. Main | Wichita, Kansas 67202
                                    Office: 316.269.6481
                                    Fax: 316.269.6484
                                    brian.vanorsby@usdoj.gov
                                    Attorneys for Defendant




                                2
      Case 2:21-cv-02538-HLT-GEB Document 24 Filed 07/07/22 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I further certify that on July 7, 2022, I electronically filed the foregoing document with

the clerk of the court by using the CM/ECF system which will send a notice of electronic filing

to the following:

       Rebecca M. Randles
       RANDLES MATA, LLC
       851 NW 45th Street, Suite 310
       Kansas City, MO 64116
       Attorney for Plaintiff

                                                     /s/ Brian E. Vanorsby
                                                     Brian E. Vanorsby
                                                     Assistant United States Attorney




                                                 3
